              Case: 23-3265        Document: 21         Filed: 01/10/2024   Page: 1




                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                 100 EAST FIFTH STREET, ROOM 540
  Kelly L. Stephens             POTTER STEWART U.S. COURTHOUSE                 Tel. (513) 564-7000
        Clerk                       CINCINNATI, OHIO 45202-3988               www.ca6.uscourts.gov




                                      Filed: January 10, 2024

                                              Notice



Mr. Joseph A. Almeida
Law Office
118 McDowell Avenue
Steubenville, OH 43952-0000

Ms. Christina Elizabeth Mahy
Office of the U.S. Attorney
200 W. Second Street, Suite 600
Dayton, OH 45402

                      Re: No. 23-3265
                          USA v. William Hitchings, V

Dear Counsel:

   The Court has determined that oral argument is not required. See I.O.P. 34(a)(4). The case
noted above is scheduled for submission to the Court on the briefs of the parties and the record
on Tuesday, March 19, 2024. You will be promptly advised of the Court's decision, or any
other order or direction it may issue.

                                                 Sincerely yours,

                                                 s/Robin L. Johnson
                                                 Calendar Deputy
